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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

SOCIAL POSITIONING INPUT SYSTEMS,
LLC,

                         Plaintiff,                C.A. No. 1:23-cv-00861 (MN)
    v.
                                                   JURY TRIAL DEMANDED
KINEXON, INC.

                         Defendant.

                  DEFENDANT KINEXON, INC.’S MOTION TO DISMISS
                        FOR FAILURE TO STATE A CLAIM

         Kinexon, Inc. (“Kinexon”) respectfully moves this court to dismiss Plaintiff Social

Positioning Input Systems, LLC’s (“Social Positioning”) Complaint, pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure, for failure to state a claim upon which relief can be

granted. A Proposed Order is attached hereto.

         The grounds for the motion are further set forth in Kinexon’s Opening Brief in Support of

its Motion to Dismiss for Failure to State a Claim, which is being filed contemporaneously

herewith.

Dated: August 30, 2023                            FISH & RICHARDSON P.C.

                                                  /s/ Jeremy D. Anderson
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